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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v.
VIOLATION:
MICHAEL ANGELO RILEY,

Count 1: 18 U.S.C. § 1512(b)(2)(B)
(Obstruction)

Defendant.
Count 2: 18 U.S.C. § 1512(c)(1)
(Obstruction)

INDICTMENT

The Grand Jury charges that at all times material to this indictment, on or about the dates

and at the approximate times stated below:
Introduction

l. On January 6, 2021, a large number of people forced entry into the U.S. Capitol in
Washington, D.C., by breaking windows, ramming open doors, and assaulting Capitol Police and
other federal officers. Other crowd members encouraged and otherwise assisted the forced entry.
As a result of this attack on the Capitol building, Congress’ certification of the Electoral College

vote was interrupted and delayed.

2. Immediately following these events, the U.S. Capitol Police (USCP) and the Federal
Bureau of Investigation (FBI) launched a criminal investigation, for which a federal grand jury was
convened in the District of Columbia (the “federal investigation”).

3. MICHAEL ANGELO RILEY was a sworn USCP officer with more than 25 years
of experience. On January 6, 2021, RILEY was at work in his capacity as an officer in the USCP’s

K-9 unit. Although he was not on duty inside the Capitol building itself during the attack, he was
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aware—via USCP radio reports—of the violence and strife occurring at the U.S. Capitol throughout
the afternoon. RILEY responded to reports of an explosive device near the Capitol complex.

4, Person | illegally entered the U.S. Capitol on January 6, 2021.

RILEY’s and Person 1’s Communications

5. On January 1, 2021, Person 1 accepted RILEY’s Facebook friend request. Person |
and RILEY did not know each other, but both were avid fishermen and members of fishing-related
Facebook groups.

6. On January 7, 2021, through a Facebook direct message, RILEY initiated contact
with Person 1, who had posted “selfie’”-style photographs, videos, and other commentary on
Facebook admitting his presence and conduct inside the U.S. Capitol on January 6, 2021. RILEY
and Person | had never communicated directly before.

7. In his initial message to Person 1, RILEY wrote, “Hey [Person 1], im a capitol police
officer who agrees with your political stance. Take down the part about being in the building they
are currently investigating and everyone who was in the building is going to charged. Just looking
out!”

8. RILEY and Person | exchanged dozens more Facebook direct messages on January
7, 2021, including the following:

a. Person | shared three videos with RILEY, showing Person 1 outside and
inside the U.S. Capitol.

b. RILEY responded, in part, “I get it...it was a total shit show!!! Just wanted
to give you a heads up . . . Im glad you got out of there unscathed We had over 50 officers hurt,

some pretty bad.”
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c, When Person | stated that he did not think he had done anything wrong,
RILEY responded, “The only thing I can see is if you went in the building and they have proof you
will be charged. You could always articulate that you had no where to go, but thats for court.”

d. RILEY further advised PERSON 1, “Dont sweat it, they might choose to
only charge certain people and not everyone. Personally i dont know what they have decided, just
know our guys and the FBI are going through everything”.

9. On January 8, 2021, RILEY and Person | continued to exchange Facebook direct
messages about January 6, including regarding the death of a USCP officer.

10. OnJanuary 9, 2021, Person 2 messaged RILEY about Person 1. In particular, Person
2 sent RILEY a video of Person 1’s Facebook live-stream from the U.S. Capitol on January 6,
which showed Person 1 smoking an unknown substance inside the Capitol building. Person 2 also
sent RILEY a screenshot of the video, capturing Person | inhaling from a hand-rolled cigarette.
RILEY responded to Person 2, in part, “Yep I know...”

11. On January 12, 2021, RILEY and Person 1 communicated extensively through
Facebook direct messages about their shared interest in fishing.

12. On January 13, 2021, Person 1 informed RILEY that Person 1 was being discussed
on social media because of his conduct on January 6. RILEY advised Person 1 to “Get off of
social media.”

_ 13. On January 16, 2021, RILEY and Person 1 exchanged the following relevant
communications:

a. Person 1 sent RILEY a Facebook direct message linking to a news article
that stated that Person 1 had been charged for his conduct on January 6. Person | called the article

“fake news.”
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b. RILEY responded, “Theyre arresting dozens of people aday. Everyone that
was in the building, engaged in violent acts, or destruction of property...and theyre all being
charged federally with felonies”.

c. When Person 1 responded with confusion about whether he had been
charged with a crime, RILEY wrote, “Call me [RILEY’s cell phone number]”.

d. Person | called RILEY immediately, and they spoke for 23 minutes.

e. Within hours of this conversation, Person | sent text messages to two other
individuals indicating that he had spoken to “capitol police” and the charges against him were likely
to involve only trespassing.

f. Person 1 sent RILEY Facebook direct messages with more information
about the charges against him. RILEY responded, in part, “Next time you want to come to DC just
call me, you can stay at my house on the shore for free and bring your daughter to the museums. If
you want to see the capitol building, lets do it legally next time... I know a guy who can get you a
tour...lol. Its behind you now...lesson learned! Just ask your attorney whats next”.

14. On January 19, 2021, Person | was arrested by the FBI on charges that he unlawfully
entered the U.S. Capitol on January 6, and he was interviewed about his conduct.

15. RILEY and Person 1 continued to exchange friendly messages until January 20,
2021. On that date, Person 1 sent RILEY Facebook direct messages regarding having turned
himself in to the FBI, including telling RILEY, “The fbi was very curious that I had been speaking
to you if they havent already asked you about me they are gonna. They took my phone and
downloaded everything.” RILEY responded, “Thats fine”.

16. On January 20, 2021, RILEY deleted all of his Facebook direct messages to and

from Person 1.
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17. On January 21, 2021—12 days after he had received and acknowledged a video and
photo of Person 1 smoking inside the U.S. Capitol—RILEY sent Person 1 a Facebook direct
message stating:

Hey [Person 1], another mutual friend was talking about you last night. I tried to

defend you but then he showed me a video of you in the Capitol smoking weed and

acting like a moron. I have to say, i was shocked and dumbfounded, since your story

of getting pushed in the building with no other choice now seems not only false but

is a complete lie. I feel like a moron for believing you. ... I was so mad last night

I deleted all your post, but i wanted to text you this morning and let you know that I

will no longer be conversing with you.

18, After this message, RILEY ceased all communications with Person 1.

COUNT ONE
(18 U.S.C. § 1512(b)(2)(B)— Obstruction)

19. The allegations set forth in paragraphs | through 18 of this indictment are realleged
and incorporated by reference.

20. On January 7, 2021, in the District of Columbia and elsewhere, the defendant,

MICHAEL ANGELO RILEY,

did knowingly corruptly persuade, and attempt to do so, with intent to cause and induce any person
to alter, destroy, mutilate, and conceal an object with intent to impair the object’s integrity and
availability for use in an official proceeding—that is, RILEY directed Person 1 to take down from
Facebook records relating to his conduct at the U.S. Capitol on January 6, 2021, with the intent of
making the records unavailable for use in the federal investigation resulting from the January 6
breach of the U.S. Capitol.

(Obstruction, in violation of Title 18, United States Code, 1512(b)(2)(B))
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COUNT TWO
(18 U.S.C. § 1512(c)(1)—Obstruction)

21. The allegations set forth in paragraphs | through 18 of this indictment are realleged
and incorporated by reference.

22. On January 20, 2021, in the District of Columbia and elsewhere, the defendant,

MICHAEL ANGELO RILEY,

did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and attempt
to do so, with the intent to impair its integrity and availability for use in an official proceeding—
that is, RILEY deleted his Facebook direct communications with Person | to impair their use in the
federal investigation resulting from the January 6 breach of the U.S. Capitol.

(Obstruction, in violation of Title 18, United States Code, 1512(c)(1))

A TRUE BILL:

FOREPERSON

b, Ph Lp

TLLIPS
ACTING ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

  
